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                   UNITED STATES DISTRICT COURT
                       DISTRICT OF COLUMBIA


 GARY BROWN,                        Case No.: 1:14-cv-01033-ABJ

      Plaintiff,
                                    VOLUNTARY DISMISSAL
vs.

 WILLIAMS, RUSH &
 ASSOCIATES, LLC.: and
 DOES 1 through 10, inclusive,

      Defendants.



             VOLUNTARY DISMISSAL WITH PREJUDICE

      Pursuant to FRCP 41(a)(1), Plaintiff GARY BROWN hereby

voluntarily dismisses her claims, with prejudice, against Defendants

WILLIAMS, RUSH & ASSOCIATES, LLC.; and DOES 1 through 10,

inclusive.

DATED: December 2, 2014
                                    RESPECTFULLY SUBMITTED,

                                    By: /s/ L. Jeanette Rice
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